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                IN THE UNITED STATES DISTRICT COURT
                       FOR DISTRICT OF KANSAS

   Anthony Lee Kennon
                                Plaintiff
   v.

   Daniel Ashley, in his individual
   capacity
   *
   Joshua Doncouse, in his individual
   capacity                           Case No. 5:24-cv-04034-JWB-BGS
   *
   Austin Spencer, in his individual
   capacity
   *
   Charles Smyser, in his individual
   capacity
   *
   The Lawrence City Commission, as
   the governing and legislative body
   of the City of Lawrence, Kansas
   including the Lawrence City Police
   Department
                        Defendants

                         VERIFIED AMENDED COMPLAINT

                                  INTRODUCTION


1. This is a civil rights action seeking damages for the violation of the plaintiff

Anthony Lee Kennon’s First, Fourth, and Fourteenth Amendment rights, stemming

from the Lawrence City Police Department officers’ May 1,. 2022, confrontation of

Mr. Kennon in the parking lot of the apartment complex where he resided of which

the defendant police officer Daniel Ashley improperly, deliberately, and repeatedly

escalated because of Mr. Kennon’s protected and non-threatening speech made in the

presence of defendant Ashley that early morning.



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2. The inability of defendant Ashley to listen to speech he found unpleasant and

uncomplimentary erupted Ashley’s knee-jerk snap decision to arrest Mr. Kennon

ultimately resulting in these four officers, as well as the entire Lawrence police

department, scrambling to come up with many conflicting reasons for Mr. Kennon’s

arrest.

3. In that early morning, officers had been present over a domestic violence call

involving Mr. Kennon and a woman named Destiny Kennon resided with. Officers

found Mr. Kennon bruised and bloodied from the assault made upon him.                 Mr.

Kennon decided he wanted to leave the premises and the Lawrence officers agreed to

assist Mr. Kennon in taking his belongings.

4. The officers had been present at the residence for approximately an hour in which

the scene was peaceful, and Mr. Kennon had been dialoging with the officers

peacefully.

5. At around 2:30 a.m., Mr. Kennon was loading up his belongings into one of the

police vehicles, but it was determined by an officer that there was not enough room

in the vehicle – “I don’t have room to move your whole life man.” Mr. Kennedy told

him “leave it right fucking here and give me my tools and I will get a ride.” The officer

replied “all right” and Mr. Kennon said “can I get my tools dog?” Mr. Kennon then

took his property out of the vehicle and piled in on the sidewalk.

6. Mr. Kennon told the officers that his tools were in a car and that Destiny needed

to open the car so he could get them. The below is a snapshot from the officer’s Axon

body cam when this dialogue took place:



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7. Defendant Seargent Ashley then arrives and is at the scene for approximately six

minutes. At this point the officers had been on the scene nearly an hour. Mr. Kennon

calls for a ride. Mr. Kennon calls Destiny to tell her to open the car so he can get his

tools. She refuses to come down and open the car. She tells officers there are no tools

in the car which was not true.

8. Mr. Kennon wants the officers to take pictures of his injuries as he told them he

wanted to press charges. Mr. Kennon takes off his shirt and the officers begin taking

pictures while Mr. Kennon tells Destiny that he is pressing charges.

9. Destiny changes her mind and comes down to open the car. Mr. Kennon tells

defendant Ashley he’s dumb, a “stupid-ass” and “you’re a bitch” also saying he was

“cowering down” to Destiny. He tells Ashley that she “isn’t going to fuck you ever.”

He told Ashley that “you should have sent her bitch ass to jail.” When the trunk is

opened, his tools were there and said “was I lying?” He said “that’s the coward shit

that is life changing” because the officers were believing Destiny and not Mr. Kennon.

10. Mr. Kennon then made his first trip taking the tools to where he had previously

stacked his personal items. The video snapshots simultaneously depicts the scene

and the time from each officer’s Axon video:




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11. Defendant Ashley falsely stated in his report that Mr. Kennon threw the items at

his feet. Instead, Mr. Kennon had placed those items in the same stack of his personal

items on the sidewalk. Mr. Kennon returned to the car and made a second trip. The

below simultaneous video snapshots depict that:




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12. None of the four officers displayed any behavior that indicated any of Mr.

Kennon’s behavior to be threatening to anyone.

13. Mr. Kennon made a third trip. The below simultaneous video snapshots depict

that:




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14. Mr. Kennon did not say anything to any of those officers that was physically

threatening to their safety. But Mr. Kennon did glare and look at the officers when

he put his personal belongings in the stack. Mr. Kennon told the officer “nothin in

this gonna hurt you is there.”

15. Defendant Ashley stated: Anthony, you challenge my officer again you’re going to

jail man.” “The freedom of individuals verbally to oppose or challenge [official] action

without thereby risking arrest is one of the principal characteristics by which we

distinguish a free nation from a police state.” Houston v. Hill, 482 U.S. 451, 462–63,

(1987). The First Amendment protects “the freedom to express disagreement with

state action, without fear of reprisal based on the expression ....”       McCurdy v.

Montgomery Cnty., 240 F.3d 512, 520 (6th Cir. 2001).

16. Mr. Kennon continued walking away. At one of the points when Mr. Kennon

reached the car defendant Spencer whispered “watch out.” On the last trip, Mr.

Kennon said (from a distance while not even facing defendant Ashley) “take me to

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jail…take me to jail.” The below simultaneous snapshots depict where Mr. Kennedy

was when that happened:




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17. Defendant Ashley then stated “all right” and “let’s go. Put your hands behind your

back.” The snapshots accurately depict the moment that happened:




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18. Mr. Kennon stated “I’m here dog – challenge your officers? What?” Defendant

Ashley said “your language” – Mr. Kennon said “coward – you’re a coward.”

Defendant Ashley said “your under arrest for disorderly conduct… for all the

language you used against both these women…language you used towards us.”




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19. Defendants wrenched and squeezed Mr. Kennon’s arms backwards while

handcuffing and Mr. Kennon told said “did you see that” and told them “you’re a

coward-ass bitch.”




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20. When defendant officers placed Mr. Kennon in the vehicle, a panel dividing the

back and front seat areas had been damaged. In their reports, the defendants falsely

claimed that Mr. Kennon had damaged the panel.

21. Mr. Kennon yelled briefly from the back seat being handcuffed behind his back

and the seat belted in but then stopped.




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22. Defendant Ashley immediately made a decision to retaliate again against Mr.

Kennon by telling the officers to remove Mr. Kennon from the vehicle (even though

Mr. Kennon was still and calm)




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23. Ashley orders a WRAP restraint in order to torment and punish Mr. Kennon.

They force Mr. Kennon to the ground:




24. The officers also used unnecessary pain actions pinching and squeezing Mr.

Kennon:




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25. The officers continued to inflict pain upon Mr. Kennon forcing him into unnatural

and unnecessary positions during the restraint in order to cause Mr. Kennon further

physical and psychological pain in being bound in the straight-jacket device:


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26. When they placed a helmet on Mr. Kennon’s head officers would push their fingers

through the helmet inflicting pain upon Mr. Kennon:




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27. Even though Mr. Kennon was defenseless and completely compliant, the

defendants continued to inflict pain using “pressure points” specifically designed to

inflict pain while others watched, assisted, and participated in:




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28. Mr. Kennon yelled in pain and stated “you jammed your thumb into my throat”

to which an officer said “it’s a pressure point buddy.”




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29. The defendants’ torture and torture tactics were directed upon Mr. Kennon

because he verbally insulted defendant Ashley or the other officers with protected

speech and continued as they forced Mr. Kennon to move and sit in unnatural

positions while in this straight-jacket device. Mr. Kennon cried out in pain moaning

and looking for help from any officer wailing “please”:




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30. Mr. Kennon continued to wail in torment pleading for any of the officers to stop

the torture and help him saying “help”:




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31. Mandibular angle is a procedure in which an individual places a thumb or finger

immediately behind the lower portion of a person’s ear and pushes forcefully forward

at a forty-five degree angle. The officers exerted the wrong kind of continuous 14

seconds of ongoing pressure points as demonstrated below:




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32. Instead of using a pointed finger to torture plaintiff, the defendants used an

improper grab technique. And while the pressure pain points were being inflicted

upon Mr. Kennon, no one was giving Mr. Kennon any directives – no instructions to

follow. Ashley put all his weight down on Mr. Kennon’s feet and legs which was

excessive. Even though Mr. Kennon cried out that “I’m not moving” there was nothing

Mr. Kennon was told that he could do to alleviate the torture being inflicted upon

him. He asked why they were doing this and was told “you have to stop screaming”

which screaming in pain would have stopped had the continuous infliction of the

pressure points stopped.



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33. Mr. Kennon said he needed to go to the hospital. They each maliciously and

deliberately hurt Mr. Kennon physically and psychologically without any legal reason

to do so.




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34. None of the officers in their initial reports reported any use of force as required

by policy. Officer Doncouse did not report use of force but did say that Mr. Kennon

was compliant in coming out of the vehicle and going into the wrap. However,

defendant Ashley, four months later, filed his report, after police complaints had been

filed and internal investigation conducted, he watched the body cam and then finally

admitted that he “applied pain compliance pressure behind his right jaw” and that

“upon successful application of the chest restraint, I released pressure.”

35. Lawrence City Officers Daniel Ashley, Joshua Doncouse, Austin Spencer, Charles

Smyser, as well as Chief of Police Rich Lockhart and his Office of Professional

Accountability, conspired to conceal, justify, or otherwise provide misleading false

facts aimed at providing a false narrative justifying each defendant’s actions as they

described in their incident reports.

36. The Office of Professional Accountability conducted a sham investigation. Chief

of Police Rich Lockhart claimed the Office of Professional Accountability had

determined that “Sergeant Ashley did not violate department policy.” He stated that

“the allegation of excessive use of force has been exonerated and the allegation of

discourtesy has been unfounded.”        Lockhart made the same determination and

findings concerning the actions of defendant Smyser.

37. Lockhart did not discipline or admonish any of the defendants for their actions as

Lawrence police officers for the actions described in this Complaint.

38. If Chief Lockhart’s statements that defendants Smyser and Ashley were being

compliant with all of the City of Lawerence Police department policies as Lockhart



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affirmatively represented, this means that the City’s policy and custom caused the

Constitutional violations and that defendants’ actions “fairly aid to represent official

policy.”

39. Defendant Smyser’s report omitted critical facts demonstrating that his claim

that Mr. Kennon was arrested for committing “disorderly conduct” was false.

40. Defendant Smyser does accurately state the real reasons why Mr. Kennon was

arrested and mistreated – because Mr. Kennon called him names – told him he was

a “bitch” and stared at him calling him a “coward.” Speech characterized as profane

as used by Mr. Kennon did not constitute fighting words. See Wood v. Eubanks, 25 F.

4th 414, 423-25 (6th Cir. 2022) (defendant calling police “fucking thugs,”

“motherfuckers,” “bitch ass fucking pigs,” “dirty rat bastards,” and “pussies with

badges” were not fighting words).

41. Defendant Doncouse omitted critical facts in his report and also made false

statements that Mr. Kennon “was becoming aggressive toward Officer Smyser.”

42. Defendant Ashley omitted critical facts and made false statements in his report

claiming “Kennon threw these items at Officer Smyser’s feet, leaned n closely toward

Officer Smyser, and stared Officer Smyser down.” He falsely claimed that Mr. Kennon

“approached Lawrence Police Officer Smyser Anthony stared at Officer Smyser

intently as he walked up, throwing the items on the ground at Officer Smyser’s feet

in a violent manner.” He falsely claimed that Mr. Kennon “chested up” to Officer

Smyser as though Mr. Kennon made physical contact or that he was inches away

from Officer Smyser. He falsely claimed that the “plexi-glass was broken when



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Anthony smashed his head into it.” He falsely claimed that the “partition was

damaged by Kennon.” He falsely claimed that Mr. Kennon “forcefully and violently

jerked his arm away from” his grip. He falsely claimed that “he began to thrust his

head backward and push his back against officers’ attempts to control him.” He

falsely claimed that Mr. Kennon had engaged in “disorderly conduct.”

43. Defendant Ashley does admit why he arrested Mr. Kennon – because Mr. Kennon

called Officer Smyser names which were not fighting words – as defendant Ashley

falsely claimed. Defendant Ashley admits he arrested Mr. Kennon for name calling

and then words “directed to Destiny” and defendant Smyser in the parking lot – all

of which was protected speech. Mr. Kennon’s statements made to the officers were

not “fighting words” within the legal meaning of K.S.A. 21-6203(a)(3). See State v.

Dotson, 133 Ohio App.3d 299, 301, 303 (7th Dist.1999) (not “fighting words” to call

various police officers “motherfuckers”); Chillicothe v. Lowery, 4th Dist. Ross No. 97

CA 2331, 1998 WL 396316, *1,8 (July 13, 1998) (saying “fuck you” to police officers

and repeatedly calling them “motherfuckers” did not constitute “fighting words”); see

also State v. Baccala, 326 Conn. 232, 251-256 (Conn. 2017) (calling a store manager

a “fat ugly bitch,” and worse, and saying, “fuck you, you’re not a manager,” were not

“fighting words”; People in the Interest of R.C., 411 P.3d 1105, 2016 COA 166, ¶ 26-

34 (Colo.App.2016) (rejecting an argument that the term “cocksucker,” “by its mere

utterance qualifies as fighting words”).

44. The reports were falsified to cause and support Mr. Kennon’s arrest and

prosecution.



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45. Defendants further retaliated against Mr. Kennon by putting him into a WRAP

restraint where they could inflict further pain and torment upon Mr. Kennon. They

justified this as purportedly keeping Mr. Kennon safe which was false and a

pretextual community-caretaking rationale. Cady v. Dombrowski, 413 U.S. 433, 441

(1973); United States v. Ibarra, 955 F.2d 1405, 1409 (10th Cir.1992).

46. The facts do not demonstrate any reasonable suspicion of criminal activity on the

part of Mr. Kennon yet the defendants each engaged in an unnecessary rapid

escalation of force against him. Merely because Mr. Kennon told defendant Ashley

to “arrest me” is not any probable cause for arrest. “A person approached by law

enforcement is entitled to ignore his interrogator and walk away.” United States v.

Mendenhall, 446 U.S. 544, 554 (1980).

47. The facts, including photographic, audio, and video evidence show numerous

Lawrence Police policy violations which not only exposed Mr. Kennon to enhanced

exposure to danger, but resulted in his physical and emotional injuries.

48. Defendants ignored Mr. Kennon’s calm demeanors and conversations. Instead,

they first watched then help defendant Ashley unreasonably arrest Mr. Kennon

because he had offended Ashley and the other officers with protected speech.

49. These facts will show that the actions taken by these defendants were intentional

and retaliatory.

50. Because of an absence of probable cause, any use of force was unreasonable.

51. Mr. Kennon plausibly alleges violations of clearly established Constitutional

rights to be free from false arrest, malicious prosecution, and excessive use of force.



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52. As Dr. Brent E. Turvey has stated, “these types of retaliatory arrests are often

referred to by law enforcement, in court rulings, and in the criminological literature

as the imaginary crime of ‘contempt of cop.’”

53. Plaintiff seeks compensation for the dignitary, economic, and emotional injuries

he suffered as a result of the unlawful seizure and meritless charges brought against

him. Plaintiff seeks punitive sanctions against the individual officers to punish them

for their callous disregard of his Constitutional rights and to deter them from this

type of misconduct in the future.

                           JURISDICTION AND VENUE

54. This civil rights action raises federal questions under the United States

Constitution, particularly the First, Fourth, and Fourteenth Amendments, and the

Civil Rights Act of 1871, 42 U.S.C.§ 1983.

55. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§§ 1331, 1343, and 1346, as this action challenges the defendants’ violation of the

plaintiff’s civil rights pursuant to 42 U.S.C. § 1983.

56. Venue lies in this Court pursuant to 28 U.S.C. § 1391, as a substantial part of the

event and omissions giving rise to the claims occurred in this judicial district.

                                    THE PARTIES

57. Plaintiff Anthony Lee Kennon is a natural person, citizen of Kansas, and legal

resident of Douglas County, Kansas.

58. The Lawrence City Commission, as the governing and legislative body of the City

of Lawrence, Kansas. The Lawrence City Police Department is a department of the



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City of Lawrence, Kansas. The City of Lawrence was at all times relevant to this

Complaint responsible for its employees, including the employees of Lawrence Police

Department. The City of Lawrence is charged under the law with the duty of hiring,

supervising, training, disciplining, and establishing policy such that the conduct of

its employees will conform to the Constitutions and laws of the State of Kansas and

of the United States of America.

59. At all times relevant to this cause, Defendant Officers either acted in

conformance with policy pertaining to, among other things, investigation, arrests,

and use of force, as set by Lawerence Police Policy, as well as acting within the course

and scope of their employment or did not act in conformance due to lack of training

and oversight.

60. Charles Smyser was employed by the Lawrence City Police Department at the

time described in this Complaint. Defendant Smyser is sued in his individual

capacity.

61. Austin Spencer was employed by the Lawrence City Police Department at the

time described in this Complaint. Defendant Spencer is sued in his individual

capacity.

62. Joshua Doncouse was employed by the Lawrence City Police Department at the

time described in this Complaint. Defendant Doncouse is sued in his individual

capacity.

63. Daniel Ashley was employed by the Lawrence City Police Department at the time

described in this Complaint. Defendant Ashley is sued in his individual capacity.



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                                    MORE FACTS

64. At the time of the events in question, it was clearly established that a Lawrence

City police officer may not use force on Mr. Kennon who is complying with a

command. See Newman v. Guedry, 703 F.3d 757, 761-64 (5th Cir. 2012) (objectively

unreasonable for officers to injure a man whose “behavior [does] not rise to the level

of active resistance”).

65. Mr. Kennon was not trespassing or acting unlawful and defendants did not have

a reasonable suspicion to detain Mr. Kennon.

66. Mr. Kennon’s purported lack of cooperation or lack of response to defendant

Ashley’s statements or questions does not factor into any reasonable suspicion

analysis. Schreiner v. Hodge, 315 Kan. 25, 504 P.3d 410, 419 (2022); State v. Andrade-

Reyes, 309 Kan. 1048, 1057, 442 P.3d 111 (2019).

67. Mr. Kennon has a Fourth Amendment right to be free from an unreasonable stop

or seizure.

68. Mr. Kennon never prevented any of the defendant officers from performing their

official duties in the apartment or the parking lot as described in this Complaint.

69. When Mr. Kennon was put into a WRAP restraint, he was handcuffed, had an

ankle strap that strapped his ankles together, a leg restraint, and was being placed

in a chest restraint and subsequently in a helmet.

70. Mr. Kennon was unable to walk or move due to the multiple different restraints

that had been placed on him. Mr. Kennon was cooperative, calm and obeying all

commands that were given to him.



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71. Despite there being no command to which Mr. Kennon could comply with, and no

disobedience of prior commands, defendant Ashley employed his knee and weight,

and also another deliberately painful mandibular angle maneuver multiple times

upon Mr. Kennon.

72. Mr. Kennon suffered then and continues to suffer with post traumatic syndrome,

heart issues, and as well as other residual effects due to the combination of the

psychological torment, physical straight-jacket treatment, and the applied force with

which the mandibular angle was applied to Mr. Kennon repeatedly.

73. The Lawrence Police Department has mandated Pain Compliance Techniques set

forth in its policy manual at 300.3.4. It provides the following:

 300.3.4 PAIN COMPLIANCE TECHNIQUES
 Pain compliance techniques may be effective in controlling a physically or actively
 resisting individual. Officers may only apply those pain compliance techniques for
 which they have successfully completed department-approved training. Officers
 utilizing any pain compliance technique should consider:
 a. The degree to which the application of the technique may be controlled given the
 level of resistance.
 b. Whether the individual can comply with the direction or orders of the officer.
 c. Whether the individual has been given sufficient opportunity to comply. The
 application of any pain compliance technique shall be discontinued once the officer
 determines that compliance has been achieved.

74. In the alternative to Chief Lockhart’s claim that Officer Ashley’s application of

the mandibular angle did conform to Pain Compliance Technique, it is alleged in the

alternative that it did not conform to the Pain Compliance Techniques set forth in

the policy manual.

75. All four of the officers at the scene completed reports of the incident.




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76. The Lawrence Police Department has a policy that mandates that all officers

make an accurate report of any and all use of force, and it is set forth at 300.5, which

provides the following:

 300.5 REPORTING THE USE OF FORCE
 Any use of force by a member of this department shall be documented promptly,
 completely, and accurately in an appropriate report, depending on the nature of the
 incident. The officer should articulate the factors perceived and why he/she believed
 the use of force was reasonable under the circumstances.

77. Defendants Doncouse, Spencer and Smyser all completed reports on May 1, 2022.

78. None of the officers’ reports reflect that any use of force was utilized in placing

Mr. Kennon in the WRAP restraint system.

79. Defendant Ashley did not complete a report until September 2022.

80. The Lawrence Police Department has a policy, 300.2.1, that if any one of its

officers see an inappropriate use of force, the officer is to intercede when in a position

to do so, and to report the unreasonable use of force.

81. All three officers that witnessed defendant Ashley’s use of the mandibular angle

when there was no command to which Kennon could respond failed to intercede when

they were in a position to do so.

82. All three officers that witnessed defendant Ashley’s use of the mandibular angle

when there was no command to which Kennon could respond failed to report

defendant Ashley’s unreasonable use of force.

83. Each defendant understood that pain compliance techniques are not to be used at

all upon a citizen when no probable cause exists to arrest or upon an arrested person

unless there is an objective to be achieved by the officers, a command is given by the



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officers, and the detainee can comply with the command. The use of pain compliance

techniques in this matter was only utilized to retaliate and inflict pain upon Mr.

Kennon.

84. In this case, the use of the mandibular angle, as well as each defendant’s aiding

and abetting that use, was done with malice and the only purpose for such use of force

was to inflict pain upon Mr. Kennon.

85. The defendants fabricated charges as a means to justify their unlawful arrest and

excessive force. A complaint was filed against Mr. Kennon alleging four counts:

domestic battery, battery, disorderly conduct, and interference with law enforcement

in Douglas County District Court Case Number 2022-CR-000457.

86. Mr. Kennon’s actions did not meet the mens rea or actus reus elements of

domestic battery, battery, disorderly conduct, and interference with law enforcement

as described in Douglas County District Court Case Number 2022-CR-000457.

87. Because the charges against Mr. Kennon in Douglas County District Court Case

Number 2022-CR-000457 were meritless and clearly fabricated, they were each

dismissed by the State on December 21, 2022.

                            FIRST CAUSE OF ACTION
  RETALIATION AND RETALIATORY ARREST FOR EXERCISE OF PROTECTED SPEECH
                                (42 U.S.C. § 1983)
                       (AGAINST ALL DEFENDANT OFFICERS)

88. Each defendant was “motivated by improper considerations” such as “the desire

to prevent the exercise of a constitutional right.” Bryan v. City of Madison, 213 F.3d

267, 277 (5th Cir. 2000).




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89. Defendants singled out Mr. Kennon because he called the defendants names in

their presence when the defendants allowed plaintiff and others who have name

called them without being arrested.

90. “Singling out one individual, banning his (perhaps disfavored) speech, and

essentially preventing him from engaging in a form of civil discourse that is available

to everyone else ... is unreasonable.” McBreairty v. Sch. Bd. of RSU 22, 616 F.Supp.3d

79, 96 (D. Me. July 20, 2022).

91. The defendants each ratified this confrontation and arrest of Mr. Kennon on

private property. Each made an affirmative approval of those decisions of the

defendants described in this Complaint. Each defendant further ratified those

decisions by failing to meaningfully investigate and punish the unconstitutional

conduct.

92. An inference of policy or custom may be drawn from a failure to take remedial

action after a constitutional violation. See Larez v. City of Los Angeles, 946 F.2d 630

(9th Cir.1991).

93. Defendants had a policy or custom of viewpoint discrimination from the failure of

the City or the defendant police supervisors to take any remedial steps after the

violation. See Larez; Grandstaff v. City of Borger, 767 F.2d 161 (5th Cir. 1985).

94. At the time of the arrest, Plaintiff Kennon was engaged in constitutionally

protected activity.

95. Defendant Officers knew that Plaintiff’s conduct did not violate Kansas state law.




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96. Defendant Officers knew that Plaintiff’s conduct was affirmatively protected by

federal law.

97. The defendant Officers’ decision(s) to arrest and initiate prosecution against the

plaintiff came directly in response to and because of Plaintiff’s reasonable exercise of

his constitutionally protected rights under the First Amendment.

98. Defendant Officers sought to punish Plaintiff for his speech. As a result, the

plaintiff suffered monetary damages in attorney fees defending against the

prosecution, emotional, other economic, and dignitary injuries.

99. Plaintiff has lost confidence in his ability to assert the rights guaranteed to him

the Constitution of the United States of America. Plaintiff fears that officers will

continue to retaliate/punish him for asserting his rights in the future.

100. Such actions by Defendant Officers, while acting under color of state law,

deprived Plaintiff of the rights, privileges, liberties, and immunities secured by the

Constitution of the United States of America, including the right to record police

officers engaged in official duties while in public. These deprivations proximately

caused Plaintiff’s loss of liberty, emotional distress, and other harms associated with

retaliatory arrest.

                       SECOND CAUSE OF ACTION
42 U.S.C. §1983 FOURTH AMENDMENT VIOLATION – UNLAWFUL ARREST/FAILURE-
                              TO-INTERVENE
                    (AGAINST ALL DEFENDANT OFFICERS)

101. Plaintiff repeats and realleges each of the allegations contained in the foregoing

paragraphs of this Complaint as if fully set forth herein.




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102. It is not necessary that a police officer actually participate in the use of excessive

force in order to be held liable under section 1983. Rather, an officer who is present

at the scene and who fails to take reasonable steps to protect the victim of another

officer's use of excessive force, can be held liable for his nonfeasance.

103. The defendants claimed Mr. Kennon’s post-arrest conduct justified the arrest.

But Mr. Kennon’s post-arrest conduct cannot supply the probable cause necessary to

initiate the arrest. See Davis v. City of Apopka, 78 F.4th 1326, 1333 n.3 (11th Cir.

2023) (“Probable cause is measured at the time of the arrest, not at some time before

or after”).

104. The cited arresting officers’ post-arrest statements are post hoc decision-making

which together indicate pretext.

105. Mr. Kennon was present on a public area, if not entirely private property.

106. Defendants knew that the plaintiff’s specific conduct did not violate any Kansas

or Federal law in lawfully observing or recording their activities.

107. Defendants Doncouse, Spencer and Smyser were all present and witnessed the

actions of defendant Ashley.

108. Prior to the arrest, there was no crime committed by Mr. Kennon, no emergency,

nor did Mr. Kennon threaten, or pose a threat, to any officer.

109. Defendants Doncouse, Spencer and Smyser failed to take reasonable steps to

protect Mr. Kennon from defendant Ashley’s unlawful arrest and unlawful use of

excessive force.




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110. The Chief of Police Lockhart has further justified these actions by not

disciplining any of the defendants or in admitting fault.

111. Based on their training regarding First Amendment protections, the defendants

each knew that simply because Mr. Kennon said “arrest me” did not constitute any

probable cause to arrest Mr. Kennon and that saying “arrest me” was

Constitutionally protected activity.

112. Despite knowing this, the defendants arrested Mr. Kennon in retaliation,

claiming pretextually that Mr. Kennon did other things that justified the unlawful

arrest.

113. At any time during the interaction with Plaintiff or the subsequent booking

process, Defendants Doncouse, Spencer and Smyser had the opportunity to intervene

but failed to do so.

114. Instead of intervening to prevent the unlawful arrest of the plaintiff, all the

defendant Officers either chose to participate in the arrest the plaintiff or participate

in that arrest without possessing any information that Mr. Kennon had committed

any crime.

115. The actions as described herein of Defendant Officers, while acting under color

of state law, deprived Plaintiff of the rights, privileges, liberties, and immunities

secured by the Constitution of the United States of America, including the right to

freedom from unreasonable search and seizure.




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                             THIRD CAUSE OF ACTION
                                   EXCESSIVE FORCE
                                 (42 U.S.C. § 1983)
                             (AGAINST ALL DEFENDANTS)

116. Plaintiff repeats and realleges each of the allegations contained in the foregoing

paragraphs of this Complaint as if fully set forth herein.

117. Plaintiff makes alternative excessive force claims. Plaintiff posed no risk of harm

to the defendant Officers.

118. Defendant Ashley lacked probable cause to approach, stop, or to arrest Mr.

Kennon. Any force used by defendants was excessive because the stop and arrest

were unlawful and there was no basis for any threat or any use of force. Richmond

v. Badia, 47 F.4th 1172, 1180 (11th Cir. 2022).

119. If a jury finds the arrest unconstitutional, the use of force and the search were

unconstitutional. This becomes elements of damages for the § 1983 violation.

120. Alternatively, even if the arrest of Mr. Kennon was supported by probable cause,

the force used in effectuating the arrest remains excessive.

121. The force was not reasonably proportionate to the need for that force given the

totality of the circumstances facing the defendant Officers prior to that force. There

was no physical aggression or resistance shown by Mr. Kennon prior to the use of

force.

122. Defendants placing Mr. Kennon in unnatural positions without verbal

commands itself caused Mr. Kennon pain in which he was unsure and unable to

accomplish those physical feats.




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123. Sticking their fingers into Mr. Kennon’s throat or through his helmet, and then

shaking his head, was excessive force.

124. Because Mr. Kennon had not been instructed or knew what was expected, he

was punished by defendant Ashley repeatedly using his cruel and malicious

mandibular angle gripping and poking similar to electrified cattle prods.

125. As such, the use of force by the defendants Ashley, Doncouse, Spencer and

Smyser was unjustified, and demonstrated deliberate indifference to his

constitutional civil rights.

126. Further, after the unwarranted aggressive grabbing of Mr. Kennon’s arms, pain

pressure maneuvers, they each restrained Mr. Kennon to the ground and restricted

his movement.

127. Prior to the excessive use of force, the plaintiff Kennon posed no risk of harm to

Defendants Doncouse, Spencer, Smyser, or Ashley.

128. The use of force upon the plaintiff Kennon was unjustified, constituted an

unreasonable and excessive use of force, and demonstrated deliberate indifference to

his constitutional civil rights.

129. There was gratuitous use of force by defendants Ashley, Doncouse, Spencer and

Smyser because Mr. Kennon was compliant when he was told he was under arrest

and did not resist the arrest, was compliant coming out of the vehicle and during the

WRAP strait jacket technique.

130. When Mr. Kennon was booked into jail, he remained in handcuffs for five hours.




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131. In addition, without cause or justification all of the defendants, including

Defendant City and Chief of Police Lockhart, contributed to, coordinated with, or

otherwise supported the defendants Ashley, Doncouse, Spencer and Smyser using

excessive force upon the plaintiff Anthony Lee Kennon.

132. By supporting, contributing, or otherwise enabling defendant Ashley, Spencer,

and Smyser actions, the defendant Doncouse allowed an excessive, unnecessary, and

disproportionate use of force to be inflicted upon Plaintiff Kennon.

133. Defendant Ashley was therefore malicious, reckless, callous and acted with

deliberate indifference to Plaintiff Kennon’s rights.

134. Defendant Doncouse was therefore malicious, reckless, callous and acted with

deliberate indifference to Plaintiff Kennon’s rights.

135. Defendant Spencer was therefore malicious, reckless, callous and acted with

deliberate indifference to Plaintiff Kennon’s rights.

136. Defendant Smyser was therefore malicious, reckless, callous and acted with

deliberate indifference to Plaintiff Kennon’s rights.

137. The battery, detention, and arrest of this plaintiff was the result of conduct that

was reckless, malicious, and deliberately indifferent to Mr. Kennon, and in depriving

him of his constitutional rights.

138. All of the named officers in this Complaint, including the defendant Officers,

while acting under color of law as authorized officers and agents of the City of

Lawrence and the Lawrence Police Department, caused a constitutional deprivation




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of the rights of this plaintiff under the Fourth, Fifth, Eighth, and Fourteenth

Amendments to the United States Constitution.

139. The actions alleged in this Complaint directly and proximately resulted in injury

to the plaintiff.

140. As a direct result of the grossly negligent misconduct of each defendant as set

out in this Complaint and associated deliberate indifference, this plaintiff was injured

and is entitled to recover damages flowing from the deprivations of the plaintiff’s

constitutional rights under the Fourth, Fifth, Eighth, and Fourteenth Amendments

to the United States Constitution.

141. Plaintiff is entitled to attorney’s fees expended in this litigation pursuant to 42

U.S.C. Section 1988.

       WHEREFORE, Plaintiff demands judgment and compensatory and punitive

damages against each Defendant, and in addition demands attorney’s fees and costs

pursuant to 42 U.S.C. Sections 1983 and 1988 and demands trial by jury on all issues

so triable.

                          FOURTH CAUSE OF ACTION
   MALICIOUS PROSECUTION UNDER 42 U.S.C. SECTION 1983 AGAINST DEFENDANT
                                      OFFICERS


142. Plaintiff repeats and realleges each of the allegations contained in the foregoing

paragraphs of this Complaint as if fully set forth herein.

143. Plaintiff was charged with domestic battery, battery, disorderly conduct, and

interference with law enforcement in Douglas County District Court Case Number

2022-CR-000457.



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144. After arresting the plaintiff Kennon, each of the defendant Officers caused a

judicial proceeding to be commenced against Mr. Kennon by the filing of reports and

information in Douglas County Kansas.

145. No reasonably cautious police officer in the position of the Defendant Officers

would have believed that Mr. Kennon could be arrested for saying “arrest me” or in

calling officers names.

146. Said judicial proceeding was instituted by Defendants without probable cause as

Mr. Kennon did not commit a crime in the officers’ presence or otherwise.

147. A reasonable inference from the lack of probable cause, combined with the AXON

videos, photographic snapshots taken from those videos, the reports made by these

defendants, and the statements made by these defendants preceding the arrest,

during the arrest, and after the arrest, that each of the Officer defendants acted with

malice when Mr. Kennon was unlawfully arrested, and initiated the criminal

prosecution by booking Mr. Kennon.

148. As a result of each of the defendant’s respective conduct described in this

Complaint, the plaintiff had to endure jail, along with the stress and humiliation of

dealing with an unfounded criminal prosecution, and the psychological and physical

trauma.

149. The actions as described herein of these defendant officers, while acting under

color of state law, deprived Plaintiff of the rights, privileges, liberties, and immunities

secured by the Constitution of the United States of America, including the right to

freedom from wrongful prosecution as guaranteed by the Fourth Amendment to the



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Constitution of the United States of America, made actionable pursuant to 42 U.S.C.

§ 1983. These deprivations proximately caused Plaintiff’s loss of liberty, emotional

distress, and other injuries associated with malicious prosecution.

                           FIFTH CAUSE OF ACTION
                         NEGLIGENT FAILURE TO TRAIN AND
                      SUPERVISE UNDER 42 U.S.C. SECTION 1983
                      AGAINST DEFENDANT CITY OF LAWRENCE

150. The plaintiff hereby realleges and incorporates by reference the allegations

contained above.

151. All conditions precedent to filing this action have been met by the plaintiff or

have been waived by the City of Lawrence and the City of Lawrence Police

Department.

152. Prior to the December 21, 2022, dismissal of Mr. Kennon’s criminal charges,

considerable information pointing in the direction of significant and outrageous police

misconduct by these defendants had come to the City and the Douglas County

prosecutor’s attention. Arresting a person for name calling officers or saying “arrest

me” is truly outrageous police misconduct. The Office of Professional Accountability

obtained damning evidence showing outrageous police misconduct which the City was

well aware of.

153. All relevant ethical authorities restrict prosecutors from threatening,

presenting, or proceeding with criminal charges when the prosecutor knows that the

charges are not supported by probable cause. Prosecutors are not allowed to enter

release-dismissal agreements when charges are not supported by probable cause in

the first instance.


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154. The defendant City recognized its liability and wrongdoing by offering to Mr.

Kennon a release-dismissal agreement – dismiss the criminal charges in exchange

for Mr. Kennon agreeing not to sue the defendants. Mr. Kennon did not agree to this.

155. Justice is not served when a criminal defendant such as Mr. Kennon is asked to

relinquish his civil and constitutional rights in exchange for a prosecutor’s agreement

to dismiss criminal charges that the prosecutor has already concluded lack merit.

156. On May 1, 2022, the defendant Officers were acting within the course and scope

of their employment as City of Lawerence police officers.

157. The responsibilities related to De-Escalation with respect to The Lawrence PD

are clearly written and effectively defined in the Lawrence PD Policy Manual.

158. This incident involved the defendants escalating to the third level of force

(Empty-Hand Control/ Pain Compliance /Detention and Arrest) without issuing clear

verbal commands to Mr. Kennon. There were no attempts to “safely engage in active

communication and listening techniques” in order to de-escalate this contact were

made.

159. No defendant explained to Mr. Kennon exactly what he expected prior to the use

of the WRAP procedure – there was no warning to Mr. Kennon as to the continuation

of any behavior would warrant an escalation to the WRAP.

160. Rather, defendant Ashley, unknown to Mr. Kennon, orders WRAP without any

attempt to communicate clear lawful orders or information to this plaintiff. This was

all done in the context of “officer rage.”




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161. The hyper-escalation of use of force in this case occurred without clear

communication between Officers and Mr. Kennon; and without clear and consistent

communication or messaging within the command structure at the scene. It also

occurred without consideration of de-escalation.

162. The actions against the plaintiff Kennon was selective – targeted solely towards

Mr. Kennon when others who had name called or said “arrest me” in doing the same

things were not. The hyper-escalation of force was a result of the personal animosity

towards Anthony Lee Kennon.

163. The City and its Police Department failed to properly train and supervise police

officers in how to handle Mr. Kennon’s presence or how to, if at all, respond to his

statement “arrest me” as well as the use of force.

164. The named officers in this Complaint breached the duties owed to this plaintiff

when they each failed to adhere to accepted law enforcement standards and practices

for detaining and arresting subjects.

165. The City failed to properly train and supervise its officers as to its Policy on

probable cause for arrest, protected speech, and name calling directed towards police.

166. The City failed to properly train and supervise its officers as to its Policy on

alternative non-violent tactics to decrease the intensity of a situation, improve

decision-making, improve communication, reduce the need for force, and increase

voluntary compliance.




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167. The City has ratified and approved the actions of each of the defendants as the

City Police Department and these defendants continue defending and justifying all

of that conduct in Mr. Kennon’s criminal proceedings.

168. Defendant City of Lawrence and its Police Department owed Plaintiff, as well as

all citizenry, a duty of care to hire and retain and supervise competent, law-abiding

officers, as well as to enact policies that ensure that officers do not arrest citizens

because of bias or without probable cause or use excessive force against civilians.

169. Defendant City of Lawrence breached its duty of care to Plaintiff by hiring and

retaining, and improperly supervising each of the named City Officers in this

Complaint.

      WHEREFORE as a proximate and direct result of the negligence of the City of

Lawrence, Plaintiff suffered severe mental and emotional distress arising from fear

of incarceration and the humiliation, shame, embarrassment, and disgrace from

detention, interrogation, arrest, booking, fingerprinting, and search of his body,

bodily injury resulting in physical pain and suffering and diminished health, anxiety,

mental pain and suffering, loss of the capacity for the enjoyment of life, loss of

earnings, and diminution and loss of the ability to earn money which are either

permanent or continuing to this day and are likely to continue into the future.

                              PRAYERS FOR RELIEF

170. As to all counts, Defendants, under color of law, have deprived and continue to

deprive the plaintiff of the right to associate, and free speech in violation of the First,

Fourth, and Fourteenth Amendments to the United States Constitution.



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Accordingly, this plaintiff is damaged in violation of 42 U.S.C. § 1983, and, therefore,

is entitled to damages; declaratory and preliminary and permanent injunctive relief

against continued enforcement and maintenance of the defendants’ unconstitutional

customs, policies, and practices; and attorney fees and expenses pursuant to 42

U.S.C. § 1988.

171. That as a direct and proximate result of the aforementioned unlawful conduct

and omissions of each of the defendants, Plaintiff suffered fear, pain, anguish, and

the following damages: a. shock, fright, anxiety, mental distress, annoyance,

vexation, and humiliation suffered by plaintiff; b. loss of freedom; c. pain and

suffering during the arrest and confinement; d. isolation from friends and family; e.

loss of dignity; f. loss of reputation; g. Loss of enjoyment of life; h. Compensatory and

punitive damages; and any and all other damages otherwise recoverable under USC

Section 1983 and Section 1988; and punitive damages in the individual capacity of

each Defendant.

172. Mr. Kennon’ First and Fourth Amendment rights were callously violated by each

defendant sued in their individual capacity.

173. Mr. Kennon’ First and Fourth Amendment rights were maliciously violated by

each defendant sued in their individual capacity.

174. Mr. Kennon’ First and Fourth Amendment rights were wantonly violated by

each defendant sued in their individual capacity.

175. Mr. Kennon’ First and Fourth Amendment rights were oppressively violated by

each defendant sued in their individual capacity.



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176. The acts by the defendants in this Complaint were prompted or accompanied by

ill will, or spite, or grudge, either toward Mr. Kennon individually, or toward persons

in one of more groups or categories of which Mr. Kennon is a member.

177. The acts by the defendants in this Complaint were done in reckless or callous

disregard, or indifference to, the rights of one of more persons, including Mr. Kennon.

178. The acts by the defendants in this Complaint were done in a way or manner

which injures, or damages, or otherwise violates the rights of Mr. Kennon with

unnecessary harshness or severity, as by misuse or abuse of authority or power, or by

taking advantage of some weakness, or disability, or misfortune of Mr. Kennon.

      WHEREFORE, the plaintiff Anthony Kennon respectfully requests that this

Court enter judgment in his favor and against all Defendants for compensatory

damages, as referenced above, punitive damages against the individual Defendants,

for interest as allowed by law, for costs, expert witness fees, and reasonable attorney

fees, as allowed by statute or as otherwise allowed by law, and for any other and

further relief that this Court shall deem just and proper.

                         DEMAND FOR TRIAL BY JURY

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff demands
a trial by Jury on all causes of action.


                                                   /s/Linus L. Baker
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                      Verification of Complaint




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